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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

JOSEPH D.G. SIMPSON, FREDERICK                    )
MERKERSON, MAURICE RICHARDSON,                    )
JONATHAN HARRIS, DARIUS J.                        )
JOHNSON, CHARLES DUNNER, JR.,                     )
ELZINA WILLIAMS-GRAY, and                         )
TIFFANY HARRISON, on behalf of themselves         )   Case No. 18-cv-553
and all others similarly situated,                )
                                                  )   Judge Sharon Johnson Coleman
                     Plaintiffs,                  )
                                                  )   Mag. J. Heather K. McShain
v.                                                )
                                                  )
THOMAS J. DART, in his official capacity as       )
Sheriff of Cook County, COOK COUNTY               )
SHERIFF’S MERIT BOARD, and                        )
COUNTY OF COOK,                                   )
                                                  )   JURY TRIAL DEMANDED
                     Defendants.                  )

                          THIRD AMENDED COMPLAINT

         Plaintiffs Joseph D.G. Simpson, Frederick Merkerson, Maurice Richardson,

Jonathan Harris, Darius J. Johnson, Charles Dunner, Jr., Elzina Williams-Gray,

and Tiffany Harrison, on behalf of themselves and all others similarly situated, file

this Third Amended Complaint against Defendants Sheriff Thomas Dart, in his

official capacity as Sheriff of Cook County (“Dart,” “Cook County Sheriff’s Office,” or

“CCSO”), the Cook County Sheriff’s Merit Board (“Merit Board”), and the County of

Cook (“the County”):

                               NATURE OF THE CASE

         1.    This is a class action complaint brought to remedy race discrimination

in employment against African Americans applying to be Correctional Officers at
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the Cook County Department of Corrections—in violation of Title VII of the Civil

Rights Act of 1964, as amended, 42 U.S.C. §§ 2000e et seq.; Section 1981 of the Civil

Rights Act of 1866, as amended, 42 U.S.C. § 1981; the Illinois Civil Rights Act, 740

ILCS 23/5(a)(1); and the Equal Protection Clause of the United States Constitution.

      2.     Plaintiffs seek to certify four classes of Black applicants for

Correctional Officer positions at the Cook County Jail who were disqualified at one

of three steps in the hiring process, and who, if they had not been disqualified,

would have been eligible for entry-level Correctional Officer positions filled on or

after March 12, 2015 (for purposes of Title VII claims) and on or after January 24,

2016 for purposes of all other claims.

      3.     For decades, a substantial proportion—often exceeding a majority—of

the sworn sheriff deputies employed as Correctional Officers at the Cook County

Department of Corrections have been African American. Public sector employment

has historically been an important source of employment for African Americans. See

http://laborcenter.berkeley.edu/pdf/2011/blacks_public_sector11.pdf. These

employment patterns have held true in Cook County, where African Americans

make up approximately 25% of the workforce but hold a higher percentage of public

sector jobs, including as Cook County Correctional Officers.

      4.     Despite the historic availability of these positions to qualified African

Americans, since at least 2013, there has been a substantial drop off in the number

and percentage of African Americans hired as Correctional Officers in Cook County.




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      5.     According to the CCSO’s own EEO-1 data for fiscal year 2015, the

CCSO hired 251 protective service officers—but only 42 of those new officers were

African American.

      6.     And according to additional data provided to the Equal Employment

Opportunity Commission (“EEOC”) in its investigation of the charges of racial

discrimination filed by the Plaintiffs in this case: (a) the CCSO’s November 16, 2015

Correctional Officer class had only four African Americans in a class of 47 new hires

(8.5%); (b) the January 25, 2016 class had only seven African Americans in a class

of 52 new hires (13.5%); and (c) the April 18, 2016 class had only five African

Americans in a class of 39 new hires (12.8%).

      7.     In almost all training classes conducted between 2013 and 2017,

African Americans have been significantly underrepresented. The CCSO hired 18

classes of new Officers between January 2013 and August 2015. In response to a

FOIA request, the CCSO generated a list of “Blacks” hired in these classes, which

averaged around 50 new Correctional Officers each. The CCSO identified the

number of blacks hired into each of those classes as follows:


                           Black Hires
      Class                Per CCSO
      Jan. 2013                       14
      April 2013                       9
      June 2013                        7
      Aug. 2013                        7
      Sept. 2013                       9
      Nov. 2013                        7
      Dec. 2013                        5
      Feb. 2014                       11
      Mar. 2014                        9


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       Apr. 2014                         10
       June 2, 2014                       8
       June 30, 2014                      6
       Aug. 2014                          2
       Sept. 2014                         8
       Nov. 2014                         11
       Apr. 2015                          8
       June 2015                          7
       Aug. 2015                         12

      Total:                           150

      8.       The numbers in the table above, although evidencing the

underrepresentation of African Americans, actually understate the problem. At

least 24 of the 150 persons hired that the CCSO reported as “Black” in its FOIA

response are actually white or Hispanic.

      9.       There is no legitimate, non-discriminatory explanation for the drop off

in African American hires, compared to white hires.

      10.      Since 2013 at least, Defendants’ selection and screening criteria for

hiring have not been job related or reliable and have had an adverse impact on

African Americans. The invalidity and unreliability of the process are reflected in

the experience of a named Plaintiff and class members who were rejected for

employment until the Plaintiffs in this case filed EEOC charges and the CCSO

“reconsidered” some previously rejected applicants and hired them.

      11.      On information and belief, the Defendants have intentionally

discriminated against black applicants. The numbers—the stark decrease in African

Americans hired after 2013—for which the Defendants provided the EEOC no

explanation, are prima facie evidence of that. Likewise, the remarks made to



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applicants by Defendants’ agents during the hiring process—for example, to

Plaintiff Merkerson that he could expect to be “fuck[ed] over, because they’re not

hiring black folks” or to a class member that “it seems to me all Cook County wants

to do is hire white boys”—are probative of intentional discrimination. And so is the

fact that, as the EEOC also discovered, applicants’ files are color-coded. Each

applicant file includes both a photograph of the applicant and other indicia of their

racial background—an invitation to discriminate. Until Plaintiffs filed EEOC

charges, the CCSO Bureau of Human Resources apparently kept African American

files separated from others—or so African Americans currently employed as

Correctional Officers have been informed.

      12.    Since 2013 at least, the disproportionate rejection of African American

applicants in the hiring process has been so well-settled and pervasive as to

constitute the de facto equivalent of a formal policy of excluding African Americans

because of their race.

      13.    Unless enjoined by this Court, the Defendants will continue to

discriminate against African Americans applying to be Correctional Officers for the

CCSO and Cook County.




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                              JURISDICTION AND VENUE

       14.       This Court has jurisdiction over Plaintiffs’ federal claims under 28

U.S.C. §§ 1331 and 1343 and 42 U.S.C. § 2000e-5(f)(3). The Court has supplemental

jurisdiction over Plaintiffs’ state law claims under 29 U.S.C. § 1367.

       15.       Venue is proper in this District pursuant to 28 U.S.C. § 1391(b). The

acts that gave rise to the claims alleged in this Complaint occurred in Illinois and in

this District.


                                         PARTIES

       16.       Plaintiff Joseph D.G. Simpson, an African American, submitted four

applications to the Merit Board for the position of Correctional Officer, in 2014,

2015, and 2017. Each time, he was rejected for employment.

       17.       Plaintiff Frederick Merkerson, an African American, submitted an

application to the Merit Board for the position of Correctional Officer in 2015. He

was notified that he had been disqualified for employment in October 2015, which

prevented him from obtaining employment on January 25 or April 18, 2016.

       18.       Plaintiff Maurice Richardson, an African American, submitted

applications to the Merit Board for the position of Correctional Officer in late 2014,

in 2015, and in 2017. He was rejected for employment in February and November

2015. The November 2015 rejection prevented him from obtaining employment on

January 25 or April 18, 2016. After he filed his EEOC charge, and while his 2017

application was pending, the CCSO contacted him and said they were

“reconsidering” him and then hired him into the June 2017 training class.



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      19.    Plaintiff Jonathan Harris, an African American, submitted an

application to the Merit Board for the position of Correctional Officer in 2014 and

was notified of his rejection for employment on March 20, 2015.

      20.    Plaintiff Darius J. Johnson, an African American, submitted an

application to the Merit Board for the position of Correctional Officer in 2018 and

2019 and was rejected both times.

      21.    Plaintiff Charles Dunner, Jr., an African American, submitted

applications to the Merit Board for the position of Correctional Officer in late 2016

or early 2017 and twice in 2018. Each time, he was rejected for employment.

      22.    Plaintiff Elzina Williams-Gray, an African American, submitted an

application to the Merit Board for the position of Correctional officer in 2017, for

which she was rejected.

      23.    Plaintiff Tiffany Harrison, an African American, submitted two

applications to the Merit Board for the position of Correctional Officer in 2015 and

was rejected both times.

      24. Defendant County of Cook (“Cook County” or “the County”) is a body

politic and corporate, organized under Illinois’ County Code, 55 ILCS 5/1-1001 et

seq. The County employs Correctional Officers at the Cook County Department of

Corrections (“Jail”). Operational responsibilities for the Jail are shared between the

County and the CCSO.

      25.    The County is a necessary party to this complaint, by virtue of its

responsibility to indemnify the CCSO and the Merit Board for monetary amounts




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recovered by the Plaintiffs through this action. Carver v. Sheriff of La Salle County,

324 F.3d 947 (7th Cir. 2003).

        26.   Defendant Thomas J. Dart, Sheriff of Cook County, is an

independently-elected constitutional officer, with responsibility and authority for

running the Department of Corrections, a bureau within the Sheriff’s Office,

including for promulgating rules, regulations, policies, and procedures governing

the hiring of Correctional Officers. He has final policymaking authority, and has

been the final policymaker, regarding all policies, customs and practices of the

Sheriff’s Office alleged in this Amended Complaint. He performed all acts and

omissions attributed to him in this Complaint under color of law. He is sued only in

his official capacity as Sheriff, not in his personal capacity.

        27.   Cook County Sheriff’s Office (the CCSO) is a unit of local government,

organized under 55 ILCS 5/3-6001–6036. At all times relevant, the CCSO has been

a signatory (or joint signatory, along with the County) to collective bargaining

agreements governing the employment of Correctional Officers at the Cook County

Jail.

        28.   Defendant Cook County Sheriff’s Merit Board is an administrative

body that obtains its power by virtue of statute, 55 Ill. Comp. Stat. 5/3-7002, with a

board of seven to nine members appointed by the Sheriff, subject to approval by the

county board. The Merit Board’s purpose is to create employment policies and make

employment decisions for the CCSO and shares authority with the CCSO for hiring




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decisions. The Merit Board is the final policymaker for the CCSO on decisions not to

certify applicants as “eligible for hire” by the CCSO and the County.


                            FACTUAL ALLEGATIONS

Plaintiff Simpson

      29.    Plaintiff Joseph D.G. Simpson applied to be a Correctional Officer at

the Department of Corrections four times from 2014 to 2017. His father is a sworn

deputy sheriff and has been employed as a Correctional Officer at the Jail since

1991. His grandfather was also a Correctional Officer who retired from the position

around 1993 after many years of service. Plaintiff Simpson’s most recent rejection

was in 2018. After submitting his 2015 application, he passed the written

examination, the situation test, the physical examination, and a rigorous

background check and was certified for employment by the Merit Board. Yet despite

Merit Board certification, the CCSO rejected him for employment.

      30.    The deputy sheriff assigned to the background investigation on

Simpson’s 2015 application, named “Smith,” told him that there was “no reason not

to hire him” and that he would “hire him right now if he could.” After Merit Board

certification, he was subjected to racially charged questioning before and during the

polygraph exam. After assuring the polygraph examiner that he had no gang

affiliations and that his father, a Correctional Officer, keeps him on the right track,

the examiner asked, “Well, if you had to pick a gang, which one would you pick?”

Upon information and belief, this examiner did not ask white applicants who denied

gang affiliations which gang “they would pick.”



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      31.    Plaintiff Simpson re-applied to be a Correctional Officer at the

Department of Corrections in late 2017. He received a letter from the Merit Board

dated January 16, 2018 that informed him that his application had been

disqualified because he had failed to qualify on the written examination

administered by the Merit Board.

      32.    Plaintiff Simpson was and remains fully qualified to work as a

Correctional Officer for the CCSO and the County but has been denied employment

because of Defendants’ racially discriminatory hiring practices.


Plaintiff Merkerson

      33.    Plaintiff Frederick Merkerson applied to be a Correctional Officer at

the Department of Corrections in June or July 2015, after his honorable discharge

as a Specialist in the United States Army. From 2010-2014, he spent four years on

active duty with the Army, including a one-year deployment in Afghanistan.

      34.    After submitting his application to the Merit Board, he took and

passed the written examination, situation test, physical fitness test, and a drug

test. After completing the exhaustive background questionnaire, he turned it in to

an employee at the Cook County Administration Building. The employee flipped

through the questionnaire and told him that he needed to explain his answer to a

question about child support payments. The employee handed him a paper and pen,

and Merkerson wrote the explanation, as directed.

      35.    A short time later, the assigned background investigator, a deputy

sheriff named “Woods” called him in for an interview. At the interview, Woods told



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Merkerson that the Merit Board might frown upon the handwritten explanation

about the child support payments. He said that they could use it just to “fuck with

[him],” and that they would try to “fuck [him] over, because they’re not hiring black

folks.” He instructed Merkerson to send the explanation in an email instead, which

Merkerson did. A few days later, the investigator called and told him that he was

pushing his application through to the Merit Board and recommending that he get

the position. The investigator made the same statement to one of Merkerson’s

references, when he called to do the reference check.

        36.   The references in support of Merkerson’s application included a U.S.

Army captain (now an Army major), an Army sergeant, and an Army staff

sergeant—all of whom vouched for Merkerson’s character.

        37.   Despite his military service in Afghanistan, the recommendation of the

CCSO investigator, and the endorsement of three U.S. Army officers, the Merit

Board refused to certify Merkerson as eligible for hire as a Correctional Officer. He

received a Notification of Disqualification from the Merit Board on October 27,

2015.

        38.   If the Merit Board had not disqualified Merkerson, the first class of

correctional officers that the CCSO hired of which he could have been a member

was hired on January 25, 2016. He also could have been a member of the class of

correctional officers hired on April 18, 2016.

        39.   On January 8, 2016, Merkerson filed a class action charge of

discrimination with the EEOC, alleging race discrimination in the hiring process for




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Cook County Correctional Officers. It named the Cook County Sheriff’s Office as the

employer, and not also the Merit Board. However, the charge alleged, among other

things, that he had to complete a background questionnaire that included a

question about knowledge of gang members that would have an adverse impact

against African Americans and Latinos. The Merit Board would have known that it

was the entity that administered the background questionnaire. The charge further

alleges that a background investigator told him that the Merit Board would use one

of his answers to try to “fuck [me] over, because they’re not hiring black folks.”

Finally, the charge alleges that the investigator stated that he would recommend

that Merkerson get the position, but the Merit Board informed him on October 27,

2015 that he had been disqualified.

      40.    The EEOC became even more aware of the Merit Board’s role during

its investigation of the charges of Plaintiffs Merkerson, Richardson, and Harris.

Counsel for the charging parties provided information in writing and by telephone

indicating that aspects of the Merit Board review process had a disparate impact on

African Americans applicants and that the Merit Board intentionally was

disproportionately weeding out African American applicants.

      41.    As part of its investigation of the three charges, the EEOC asked the

Cook County General Counsel to provide it, among other information, data

concerning every applicant considered by the Merit Board and separately to provide

data concerning every applicant considered by the Sheriff’s Office.




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      42.    Throughout the EEOC investigation, lawyers from the Cook County

General Counsel’s office represented both the CCSO and the Merit Board.

      43.    As part of the investigation, on August 25, 2016 two EEOC

investigators met for an extensive interview with Rosemarie Nolan, the Executive

Director of the Merit Board, and two attorneys from the Cook County General

Counsel’s office to discuss each step in the process by which the Merit Board

screened applicants for Correctional Officer positions.

      44.    Through that interview and the EEOC’s other information requests,

CCSO and the Merit Board understood that in the EEOC’s investigation of the

three charges the agency sought information on both the Merit Board’s and CCSO’s

decision-making processes and on the impact of the decisions made by both entities.

In response to the EEOC’s information requests, the Cook County General

Counsel’s office sent the EEOC information about the Merit Board’s policies and

practices as well as CCSO’s policies and practices.

      45.    The Merit Board was aware that Merkerson’s charge of discrimination

was against it as well as CCSO. It is plausible to infer that the Merit Board also

knew it had the opportunity to participate in any conciliation efforts both from its

representation by the Cook County General Counsel’s office and by its Executive

Director’s participation in an investigative meeting with the EEOC.

      46.    Nonetheless, Merkerson’s complaint to the EEOC has been to no avail.

Although the CCSO “reopened” or “reconsidered” the applications of certain African

American applicants after the Plaintiffs filed EEOC charges, they did not offer to




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hire Merkerson. Merkerson received notification from the EEOC of his right to file

this case and has done so within 90 days of his receipt of that notice.

        47.   Merkerson was and remains fully qualified to work as a Correctional

Officer for the CCSO and the County but has been denied employment because of

Defendants’ racially discriminatory hiring practices.


Plaintiff Richardson

        48.   Plaintiff Maurice Richardson applied to be a Correctional Officer in

late 2014 or early 2015, in 2015, and in 2017. On the second application, he passed

the written test, situation test, and physical fitness test. Deputy Sheriff Fontella

Brown-Marshall was assigned to his background investigation and recommended

him for hire. The Merit Board certified him as eligible for hire on September 24,

2015.

        49.   After Merit Board certification, he was required to take a polygraph

test. The examiner was an older white male, believed to be Edward Fisher, who

asked multiple racially charged questions both before and during the

administration of the polygraph test. For example, he said he “knew” that

Richardson “must have” sold drugs and “must have” been in a gang because he grew

up in the Robert Taylor Homes, a public housing project. He repeatedly accused

Richardson of “lying” or “concealing things,” although he had no non-discriminatory

basis to believe that he was lying about his background.

        50.   On November 4, 2015, the CCSO Bureau of Human Services sent

Richardson a letter rejecting his employment application.



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      51.    After receiving notice of his rejection, he contacted Brown-Marshall to

inform her of the rejection and to report the polygraph examiner’s discriminatory

conduct. She suggested that he write a letter to the Merit Board about how he was

treated—which he did.

      52.    On November 25, 2015, Richardson wrote the letter, directing it to

James P. Nally, Chairman of the Merit Board. He explained that the polygraph

examiner had created an “offensive and uncomfortable environment,” that the

hiring process was not “fair and just,” and asking that his application be “reviewed

and reevaluated.” On December 16, 2015, Richardson received an email from

Rosemarie Nolan, Executive Director of the Merit Board, stating that the letter

would be “forwarded to the Cook County Sheriff’s Bureau of Human Resources” and

that additional questions should be directed to Robert Egan, CCSO’s Compliance

Officer. Richardson’s complaint was to no avail. At best, he spoke to Mr. Egan, who

told him that the CCSO had done nothing improper.

      53.    If the CCSO had not disqualified Richardson, the first class of

correctional officers that the CCSO hired of which he could have been a member

was hired on January 25, 2016.

      54.    On January 19, 2016, Richardson filed a class action charge of

discrimination with the EEOC, alleging race discrimination in the hiring process for

Cook County Correctional Officers. He subsequently received notification of his

right to file this case and has done so within 90 days of his receipt of that notice.




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      55.    In 2017, after filing the EEOC charge, Richardson reapplied to the

Merit Board for the Correctional Officer position. While that application was

pending, the CCSO contacted him in reference to the 2015 application and asked

whether he still wanted the job, because his application was being “reconsidered.”

Richardson was hired into the June 2017 training class, graduated in November

2017, and is currently employed as a Correctional Officer in Division 4 of the Jail.

      56.    Richardson was at all times fully qualified to work as a Correctional

Officer for the CCSO and the County but was denied employment until June 2017

because of Defendants’ racially discriminatory hiring practices. His current

employment as a Correctional Officer at the Jail demonstrates that Defendants had

no legitimate, non-discriminatory reason to reject his employment applications.

Instead, he was repeatedly denied employment because of his race.


Plaintiff Harris

      57.    Plaintiff Jonathan Harris applied to be a Correctional Officer at the

Department of Corrections in or around June 2014. He took and passed the written

examination, the situation test, the physical fitness test, and a drug test and

completed the exhaustive background questionnaire. The investigator assigned to

conduct his background check, believed to be Don Jeffries, told him that the CCSO

was very “short-staffed” and that he should expect to work a great deal of overtime

after he was hired.

      58.    On February 10, 2015, the Merit Board certified Harris as eligible for

appointment as a Correctional Officer.



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       59.    In March 2015, he took a polygraph test, and after completing the test,

the examiner told him that he had done “really well,” that he had been “really

honest,” and that he was in “good shape.” At the end of the conversation, he

congratulated him and said that he hoped to see him around soon. In fact, a

training class was scheduled to start about two weeks later.

       60.    On March 20, 2015, despite certification by the Merit Board and the

positive comments by the polygraph examiner, the CCSO sent Harris a letter

rejecting his employment application.

       61.    On or around January 15, 2016, Harris filed a class action charge of

discrimination with the EEOC, alleging race discrimination in the hiring process for

Cook County Correctional Officers. Although the CCSO “reopened” or

“reconsidered” the applications of certain African American applicants after the

Plaintiffs filed EEOC charges, they did not offer to hire Harris. Harris has received

notification from the EEOC of his right to file this case and has done so within 90

days of his receipt of that notice.

       62.    Harris was at all times and remains fully qualified to work as a

Correctional Officer for the CCSO and the County but has been denied employment

because of Defendants’ racially discriminatory hiring practices.


Plaintiff Johnson

       63.    Darius J. Johnson applied to be a Correctional Officer at the

Department of Corrections in or around October 2018. He took and passed the

written examination. He was notified by the Merit Board in or around November



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19, 2018 that his application had been disqualified because he had failed to qualify

on the situation test administered by the Merit Board.

      64.    Johnson reapplied in early 2019. He was notified by the Merit Board

in 2019 that his application had been disqualified because he had failed to qualify

on the written examination administered by the Merit Board.

      65.    Johnson was at all times and remains fully qualified to work as a

Correctional Officer for the CCSO and the County but has been denied employment

because of Defendants’ racially discriminatory hiring practices.


Plaintiff Dunner

      66.    Charles Dunner, Jr. applied to be a Correctional Officer at the

Department of Corrections in or around late 2016 or early 2017. He took and

passed the written examination, the situation test, the physical fitness test, and

completed the exhaustive background questionnaire.

      67.    In early July 2017, Dunner contacted the Merit Board to inquire about

the delay in his application. Around July 2017, a background investigator,

Sylvester Wilson, contacted Dunner. Investigator Wilson informed Dunner that the

delay was because he had provided two different addresses, but other than that,

there were no issues with his application. Dunner corrected his address.

      68.    Investigator Wilson subsequently told Dunner that during the

background check, his named matched with that of his deceased uncle. Dunner

informed Investigator Wilson that his uncle had died approximately fifteen years

prior when Dunner was 14 or 15 years old. Investigator Wilson told Dunner that “it



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seems to me that all Cook County wants to do is hire white boys and it seems like

they’re not giving black men a chance.”

      69.    On August 24, 2017, the Merit Board notified Dunner of his rejection.

      70.    After being rejected, Dunner emailed the Merit Board to inquire why

he was rejected but was not provided with a reason. He called Investigator Wilson

who provided Dunner with a number to call at the Merit Board. Dunner eventually

spoke to two different people at the Merit Board who both said that they do not

disclose reasons why applicants get rejected.

      71.    Investigator Wilson later called Dunner after his rejection to tell him

how disappointed he was that Dunner was rejected.

      72.    Dunner emailed the Merit Board again in early 2018 to inquire why he

was rejected but was not provided with a reason.

      73.    Dunner reapplied two times in early 2018. He was notified by the

Merit Board both times that his application had been disqualified because he had

failed to qualify on the written examination administered by the Merit Board.

      74.    In or around early 2019, Mr. Dunner was hired by the Hazel Crest

Police Department.

      75.    Dunner was at all times and remains fully qualified to work as a

Correctional Officer for the CCSO and the County but has been denied employment

because of Defendants’ racially discriminatory hiring practices.


Plaintiff Williams-Gray




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      76.    Elzina Williams-Gray applied to be a Correctional Officer at the

Department of Corrections in or around September 2017. She took and passed the

written examination and the situation test.

      77.    During the physical fitness test, Williams-Gray was notified that she

did not straighten her arms sufficiently on the bench-press portion of the test and

was not permitted to proceed to the running portion of the test. She was notified of

her rejection in or around November 2017.

      78.    Williams-Gray was at all times and remains fully qualified to work as

a Correctional Officer for the CCSO and the County but has been denied

employment because of Defendants’ racially discriminatory hiring practices.

Plaintiff Harrison

      79.    Plaintiff Tiffany Harrison applied to be a Correctional Officer at the

Department of Corrections twice in 2015.

      80.    After each application, she took the written examination, on July 27,

2015, and September 14, 2015. Subsequent to each examination, Harrison was

notified that her application had been disqualified because she had failed to qualify

on the written examination administered by the Merit Board.

      81.    Harrison was at all times and remains fully qualified to work as a

Correctional Officer for the CCSO and the County but has been denied employment

because of Defendants’ racially discriminatory hiring practices.

Defendants’ Policies and Practices of Racial
Discrimination In Hiring Correctional Officers




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      82.    To be hired as a Cook County Correctional Officer, applicants must (a)

apply to the Merit Board, (b) be certified by the Merit Board as “eligible for hire,”

and (c) receive an offer from the CCSO Bureau of Human Resources.

   A. Merit Board Certification

      83.    After submitting an application to the Merit Board, each applicant

must pass a written examination, a “situation” or “scenario” examination, and a

physical fitness test. Applicants who successfully complete each of these steps are

fingerprinted, drug tested, and interviewed by a Merit Board investigator. (The

investigators are hired by the CCSO and on the County payroll.)

      84.    Applicants must then submit to a rigorous background investigation,

which includes completing a 20-page personal history form, submitting

documentation, and being interviewed again by a Merit Board investigator. The

investigator then authors a report and the entire file is sent to the Merit Board,

which decides whether to “certify” the candidate as “eligible for hire.” If the Merit

Board denies certification, the applicant is disqualified without further

consideration.

      85.    Each applicant file includes a photograph, the applicant’s residence

address, and the criminal background check. The photographs reveal each

applicant’s appearance. The background check discloses the applicant’s race. In

addition, due to Chicago’s extreme racial segregation,

(https://www.metroplanning.org/uploads/cms/documents/cost-of-segregation.pdf),




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the residence address may strongly correlate with race, and conjure stereotypes

about individuals who reside in minority communities with high crime rates.

      86.     Applicants are not permitted to appear before the Merit Board. Merit

Board members review the files, which include multiple indicia of the applicant’s

race. Before an applicant moves forward, a majority of the Merit Board members

must agree.

      87.     Nearly all Merit Board members are white. During most of the

relevant period, Byron Brazier was the only African American member of the Merit

Board. Once a majority of Merit Board members have voted for or against an

applicant, remaining Board members do not review the file. On information and

belief, Reverend Brazier did not review all files. Thus, the Merit Board reviewed—

and rejected—the applications of many class members without the input of even one

African American member.

      88.     The Merit Board review process invites racial stereotyping and

discrimination. There are few if any objective or standardized criteria.

      89.     During the EEOC investigation of Plaintiffs’ discrimination charges,

the investigator asked the Merit Board and the CCSO to provide data on the racial

composition of the applicant pool. They did not provide it, even though the

information is readily ascertainable from data collected electronically when persons

apply and when they take the first written test.

      90.     From 2013 to 2017, a disproportionate percentage of African American

applicants “washed out” during the Merit Board certification process. In other




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words, the percentage of African Americans applying to be Correctional Officers was

higher than the percentage certified by the Merit Board.

      91.    On information and belief, the Merit Board has also intentionally

discriminated against Plaintiffs on the basis of race.


   B. Hiring Decisions by the CCSO Bureau of Human Resources

      92.    Applicants are not guaranteed hire after Merit Board certification. The

Merit Board sends certified applications to the CCSO Bureau of Human Resources,

which makes the final hiring decisions.

      93.    Before final review by the Bureau of Human Resources, applicants are

subjected to a polygraph examination.

      94.    During the relevant period, at least one CCSO polygraph examiner

expressed racial bias towards African Americans. Examples include insisting that

Plaintiff Richardson “must have” sold drugs and “must have” joined a gang because

he grew up in the Robert Taylor Homes and asking Plaintiff Simpson, who denied

any gang affiliation and said that his father was a Correctional Officer, which gang

he would “pick.”

      95.    The CCSO’s review process is not “color blind.” The race of each

applicant is clearly indicated. The files include a photograph and other indicia of

race, including residence address.

      96.    The CCSO’s hiring criteria are unreliable and subjective. The process

invites racial stereotyping and discrimination.




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      97.    The Bureau of Human Resources selection process has an adverse

impact on African Americans. African American applicants “wash out” at a higher

rate than white applicants.

      98.    On information and belief, the CCSO Bureau of Human Resources also

intentionally discriminated against Plaintiffs on the basis of race.


   C. Preference for Ward 19 Applicants

      99.    The current sheriff, Thomas Dart, and his predecessor, Mike Sheahan,

served as sheriff of Cook County continuously for the past 31 years. Both of them

have lived in Chicago’s 19th Ward, located in Chicago’s southwest side, while

serving as sheriff.

      100.   The 19th Ward has a higher concentration of white residents and a

lower percentage of African-American residents than does the City as a whole.

According to the 2010 Census, 67% of the residents of the ward are non-Hispanic

white persons, while 26% are African-American. According to the same census, 45%

of the residents of Chicago are white while 33% are black.

      101.   The 19th Ward contained 51,525 residents in 2010, which was less

than 2% of the Chicago’s population of nearly 2,700,000. Yet an analysis published

in 2011 found that almost 10% of the CCSO workforce came from the 19th Ward.

      102.   This overrepresentation of 19th Ward residents in the CCSO workforce

evidenced a preference for persons from the 19th Ward in the hiring decisions of the

Defendants in the years prior to 2011. Upon information and belief, that preference

has continued, if not strengthened, since 2011. And because African Americans are



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underrepresented in the population of the 19th Ward compared to their presence in

the City as a whole, the preference for applicants from the 19th Ward has the

impact of exacerbating the discrimination that exists for other reasons.

      103.   Indeed, upon information and belief, the preference exhibited by the

Defendants is not for all residents of the 19th Ward, but specifically for white

residents of the 19th Ward. This pattern or practice of intentional discrimination

makes it much more difficult for African-American applicants to gain employment.


   D. The Discriminatory Results of the CCSO’s Hiring Process

      104.   The CCSO has hired more than five hundred Correctional Officers

since 2014. Despite the racial diversity of the applicant pool, the vast majority of the

new hires are either white or Hispanic.

      105.   During the period 2014 to 2017, African Americans were substantially

underrepresented in every Correctional Officer training class.

      106.   According to data provided to the EEOC during its investigation of

Plaintiffs’ discrimination charges:

             a. Of 47 new hires in the November 16, 2015 Correctional Officer

                  class, only four were African American—a rate of just 8.5%.

             b. Of 52 new hires in the January 25, 2016 Correctional Officer class,

                  only seven were African American—a rate of just 13.5%.

             c.   Of 39 new hires in the April 18, 2016 Correctional Officer class,

                  only five were African American—a rate of just 12.8%.




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In addition, of the 251 “protective service” employees hired between July 1, 2014

and June 30, 2015 – most or all of whom were Correctional Officers – only 32, or

12.7%, were African American.

      107.   Named Plaintiffs and class members observed that African Americans

made up as many as 60 to 70% of those present for physical fitness testing. And as

of June 30, 2015, 49.4% of the 3,176 experienced protective services employees – the

great majority of whom were Correctional Officers – were African American. These

percentages reflect that African Americans were qualified for Correctional Officer

positions in percentages similar to their presence in the pool of persons taking

physical fitness testing during the class period.

      108.   The selection rate of African Americans was far lower—much less than

80%—of the selection rate of white applicants for the 2014 to 2018 Correctional

Officer classes. Defendants’ hiring practices had an adverse impact on African

American applicants.

      109.   Defendants’ selection procedures for the Correctional Officer position

create adverse impact, are unreliable, and have never been validated through a

demonstration of a demonstrable relationship to job performance, and lesser

discriminatory alternatives with the same or greater validity are available. There is

no empirical data demonstrating that these procedures are predictive of or

significantly correlated with important elements of job performance. This is true of

both the Merit Board certification process and the “final review” procedures of the

Bureau of Human Resources.




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      110.   The unreliability of Defendants’ procedures is demonstrated by the fact

that, after three Plaintiffs filed classwide charges of discrimination with the EEOC,

Defendants reopened the applications of a number of African American applicants

and hired them. These class members, including Plaintiff Richardson, are

successfully performing the job duties of a Cook County Correctional Officer,

demonstrating that they are fully qualified for the position and were denied

employment, not for any legitimate reason, but because they are African American.

      111.   Alternatively, in the event that Defendants’ selection procedures are

shown to be job related and consistent with business necessity, less discriminatory

alternatives exist that the Defendants have refused to adopt. Such less

discriminatory alternatives include, for example:

             a.    “Blind” recruitment procedures designed to eliminate bias.

             b.    Adoption of objective hiring criteria.

             c.    Elimination of racial bias in the personal history questionnaire.

             d.    Racial diversification of the Merit Board.

             e.    Conducting polygraph testing in compliance with the American

             Polygraph Association Standards of Principles and Practices or,

             alternatively, eliminating unreliable polygraph testing from the hiring

             process.

             f.    Anti-bias training for all individuals involved in hiring

             decisions, including the Merit Board members, Merit Board staff,




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             background investigators, polygraph examiners, and hiring officials in

             the CCSO Bureau of Human Resources.

             g.     Periodic audits to ensure that African American applicants are

             not disproportionately eliminated, and remedial action to correct any

             adverse impact identified.

      112.   Defendants have also engaged in a pattern or practice of intentional

race discrimination that has resulted in the rejection of Plaintiffs.

      113.   Defendants are well aware that they are hiring only a small number of

African Americans as Correctional Officers and that this pattern repeated itself in

every training class for five years, from 2013 to 2017. In addition, they are well

aware that their subjective and “color coded” hiring procedures are an invitation to

discriminate on the basis of race.

      114.   Plaintiffs and class members have written letters of protest to the

Merit Board and the CCSO asking for reconsideration of their rejected applications

and complaining about mistreatment during the hiring process. Their complaints

have fallen on deaf ears.

      115.   On December 10, 2015, incumbent African American Correctional

Officers met with Robert Egan, the CCSO’s Compliance Officer, Undersheriff Zelda

Whittler, James P. Roache, Inspector General of the CCSO, and Cook County

Commissioner Stanley Moore to complain about racial discrimination against

African American applicants and officers. Egan, Whittler, and Roache said they

would be “looking into” the issues and would discuss the hiring “numbers” with




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Commissioner Moore. Defendants continued to discriminate against African

American applicants after this meeting.

      116.   It has been reported to incumbent African American Correctional

Officers that, after the Plaintiffs filed discrimination charges with the EEOC, an

employee newly assigned to the CCSO’s Bureau of Human Resources discovered

that the application files of African Americans had been kept apart from others.

      117.   Defendants have also tried to actively conceal the low rate of hiring of

African Americans. In October 2015, an incumbent African American Correctional

Officer filed a FOIA request for 2013-2015 hiring data. In response, the CCSO

created a spreadsheet with the names of what it claimed to be “Blacks” hired from

2013 to 2015. But at least 24 of the individuals on the list are actually white or

Hispanic, not African American.

      118.   Defendants’ racial discrimination against the Plaintiffs and other

Black applicants throughout the liability period has been the result of either

express hiring policies or widespread practices so pervasive that they constitute a

custom or practice of intentional discrimination.


                              CLASS ALLEGATIONS

      119.   Plaintiffs bring this action pursuant to Rule 23 of the Federal Rules of

Civil Procedure. Plaintiffs seek certification of the following four classes:

      Class 1:    All Black applicants for Correctional Officer positions at the
            Cook County Jail who took and did not pass the NCJOSI 2 (the first
            written test) during or after July 2014 and before April 2016.

      Class 2:    All Black applicants for Correctional Officer positions at the
            Cook County Jail who took and did not pass the NCJOSI 2 (the first


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             written test) during or after April 2016.

      Class 3:     All Black applicants for Correctional Officer positions at the
            Cook County Jail who took and passed the NCJOSI 2 (the first written
            test) during or after July 2014 and then took but did not pass the
            SBSA-LEO (the second written test).

      Class 4:     All Black applicants for Correctional Officer positions at the Cook
            County Jail who took and passed the NCJOSI 2 (the first written test)
            during or after July 2014 and then took but did not pass the physical
            abilities test (PAT).

      120.   Each Plaintiff is a member of the following classes that they seek to

represent:

       Class                                     Class Reps
       Class 1                                   Simpson, Harrison
       (first written test until April 2016)

       Class 2 (first written test on or after   Simpson, Dunner, Johnson
       April 2016)
       Class 3                                   Johnson
       (“situation” or second written test)

       Class 4                                   Williams-Gray
       (physical fitness test)


      121.   The members of each class are so numerous that joinder of all

members is impracticable. Between 2014 and 2018 alone, the Merit Board rejected

more than one thousand Black applicants because of their scores on the first written

test (Classes 1 and 2); more than one hundred Black applicants because of their

scores on the second written test (Class 3); and more than three hundred Black

applicants because of their performance on the physical fitness test (Class 4).

Further, the identity of individual class members is readily ascertainable from

Defendants’ hiring records.


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      122.   There are questions of fact and law common to each class, which are

both well suited to classwide adjudication and predominate over any questions

affecting only individual class members. These common, predominating questions

include: (a) whether Defendants’ hiring practices disproportionately eliminated

African Americans from the Correctional Officer hiring process; (b) whether

Defendants’ hiring practices that disproportionately eliminated African Americans

were job-related and consistent with business necessity; (c) whether less

discriminatory alternative procedures existed which Defendants have refused to

adopt; and (d) whether there is a basis for municipal liability.

      123.   The named Plaintiffs’ claims are typical of the claims of other class in

that each of them applied and was rejected for employment as a Cook County

Correctional Officerbased on the same test subject to the same scoring regime as the

other members of the class. Membership in each class is limited to Black applicants

rejected at the same step.

      124.   Plaintiffs will fairly and adequately represent and protect the interests

of each class. They have retained experienced and accomplished counsel who are

able and prepared to expend the resources necessary to litigate this case.

      125.   A class action is superior to other methods for fairly and efficiently

adjudicating this controversy.

      126.   Alternatively, classwide liability under the theories advanced in this

complaint could properly be certified under Rule 23(c)(4).

                        FIRST CLAIM FOR RELIEF
        Title VII — Disparate Impact Claims Against All Defendants



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             On Behalf of Plaintiffs Merkerson, Simpson, Dunner,
             Johnson, Williams-Gray, and Harrison and All Classes
                (Cook County Sued for Indemnification Only)

      127.   Plaintiffs repeat and re-allege all previous paragraphs of this

complaint.

      128.   In rejecting the employment applications of named Plaintiffs

Merkerson, Simpson, Dunner, Johnson, Williams-Gray, and Harrison and the other

members of the classes, Defendants Merit Board and Dart have used selection

procedures that have a disparate impact on the basis of race and are neither job-

related for the Correctional Officer position nor consistent with business necessity.

The foregoing conduct constitutes unlawful discrimination in violation of 42 U.S.C.

§ 2000(e) et seq.

      129.   Defendants have also failed and refused to use available alternative

hiring procedures that are valid and less discriminatory.

                       SECOND CLAIM FOR RELIEF
      Title VII — Disparate Treatment Claims Against All Defendants
                    On Behalf of All Plaintiffs except for
         Plaintiffs Richardson and Harris against the Merit Board
                (Cook County Sued for Indemnification Only)

      130.   Plaintiffs repeat and re-allege all previous paragraphs of this

complaint.

      131.   Defendant Dart has intentionally discriminated against all Plaintiffs

by rejecting their employment applications on the basis of race.

      132.   Defendant Dart’s acts and omissions constitute a pattern or practice of

racial discrimination against Plaintiffs.




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      133.   Defendant Merit Board has intentionally discriminated against

Plaintiffs Merkerson, Simpson, Dunner, Johnson, Williams-Gray, and Harrison by

disqualifying them for employment on the basis of race.


      134.   The Merit Board’s acts and omissions constitute a pattern or practice

of racial discrimination by the Merit Board and Dart against Plaintiffs Merkerson,

Simpson, Dunner, Johnson, Williams-Gray, and Harrison.


                       THIRD CLAIM FOR RELIEF
     Equal Protection (42 U.S.C. § 1983) Claims Against All Defendants
                   On Behalf of All Plaintiffs except for
        Plaintiffs Richardson and Harris Against the Merit Board
              (Cook County Sued for Indemnification Only)

      135.   Plaintiffs repeat and re-allege all previous paragraphs of this

complaint.

      136.   At all times relevant, Defendants have acted under color of law.

      137.   Defendants knew that African American applicants were being

disproportionately rejected for employment as Correctional Officers.

      138.   Defendants knew that their hiring procedures were subjective,

unreliable, and unscientific.

      139.   Defendant Dart intended to discriminate against African-American

applicants, including all Plaintiffs, on the basis of race.

      140.   Defendants Merit Board and Dart intended to discriminate against

African-American applicants, including Plaintiffs Merkerson, Simpson, Dunner,

Johnson, Williams-Gray, and Harrison, on the basis of race.




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      141.   In failing to take action to ensure equal employment opportunities for

African American applicants, Defendants were deliberately indifferent to the

constitutional right to equal protection of those applicants, including Plaintiffs.

      142.   As a direct and proximate result of Defendants’ deliberate indifference,

Plaintiffs have been injured and damaged.




                        FOURTH CLAIM FOR RELIEF
      42 U.S.C. § 1981 (42 U.S.C. § 1983) Claims Against All Defendants
                     On Behalf of All Plaintiffs except for
         Plaintiffs Richardson and Harris Against the Merit Board
               (Cook County Sued for Indemnification Only)

      143.   Plaintiffs repeat and re-allege all previous paragraphs of this

complaint.

      144.   At all times relevant, Defendants have acted under color of law.

      145.   Defendants knew that African American applicants were being

disproportionately rejected for employment as Correctional Officers.

      146.   Defendants knew that their hiring procedures were subjective,

unreliable, and unscientific.

      147.   Defendant Dart intended to discriminate against all African-American

applicants, including Plaintiffs, on the basis of race in the making of an employment

contract.

      148.   Defendant Merit Board intended to discriminate against African-

American applicants, including Plaintiffs Merkerson, Simpson, Dunner, Johnson,




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Williams-Gray and Harrison, on the basis of race in the making of an employment

contract.

      149.   In failing to take action to ensure equal employment opportunities for

African American applicants, Defendants were deliberately indifferent to their

statutory right under Section 1981 of the Civil Rights Act of 1866, as amended, 42

U.S.C. § 1981, to be free from racial discrimination in the making and enforcement

of an employment contract.

      150.   As a direct and proximate result of Defendants’ deliberate indifference,

Plaintiffs and other class members have been injured and damaged.


                         FIFTH CLAIM FOR RELIEF
 Illinois Civil Rights Act, 740 ILCS 23/5, Claims Against All Defendants on
                    Behalf of All Plaintiffs and All Classes
    Except for Plaintiffs Richardson and Harris Against the Merit Board
                (Cook County Sued for Indemnification Only)

      151.   Plaintiffs repeat and re-allege all previous paragraphs of this

complaint.

      152.   As a direct and proximate result of the conduct described above,

Defendants violated the Illinois Civil Rights Act of 2003, 740 ILCS 23/5, under both

disparate treatment and disparate impact theories.


      153.   As a direct and proximate result of the violations alleged above,

Plaintiffs and all class members have been injured by Defendants’ practices giving

rise to the disparate impact claims, except that Plaintiffs Richardson and Harris

have not been injured by the Merit Board’s practices.




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       154.      As a direct and proximate result of the violations alleged above,

Plaintiffs have been injured and damaged by Defendants’ disparate treatment of

Black applicants, except that Plaintiffs Richardson and Harris have not been

injured by the Merit Board’s disparate treatment.


                                  INDEMNIFICATION
                               (Against Cook County Only)

       155.      Plaintiffs repeat and re-allege all previous paragraphs of this

complaint.

       156.      Because the CCSO and Merit Board are funded by the County, Cook

County is responsible to indemnify Dart and the Merit Board against damages,

including attorney’s fees, recovered from them by Plaintiffs.



                                  PRAYER FOR RELIEF

     WHEREFORE, Plaintiffs and the Class pray that this Court:

       A.        Certify the four proposed classes to litigate the claims in this

complaint for class-wide adjudication under Federal Rule of Civil Procedure 23(b)(3)

and/or (c)(4);

       B.        Appoint Plaintiffs’ Counsel as Class counsel for the four classes

pursuant to Rule 23(g)(1);

       C.        Declare that Defendants have engaged in practices that deprive the

Plaintiffs who are class representatives and other class members of rights protected

by Title VII and the Illinois Civil Rights Act;




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      D.       Declare that Defendants have engaged in intentional discrimination,

including patterns or practices and customs of discrimination, that have deprived

Plaintiffs of rights protected by Title VII, Section 1981, the Fourteenth Amendment,

and the Illinois Civil Rights Act;

      E.       Order injunctive relief against Defendants, including that they adopt

and implement policies, procedures, and practices that will ensure equal

employment opportunity for African Americans in hiring and eliminate all vestiges

of racial discrimination in the hiring process for Correctional Officers;

      F.       Appoint an independent monitor to oversee Defendants’ adoption and

implementation of the required policies, practices, and procedures, and to report to

the Court;

      G.       Award Plaintiffs and the class members all available legal and

equitable relief including instatement, backpay, retroactive seniority, compensatory

damages (only for Plaintiffs’ claims of intentional discrimination arising out of the

Merit Board’s final review or the CCSO’s review of certified candidates), and

frontpay to the extent that instatement for all injured parties is not immediately

practicable;

      H.       Order Defendants to pay Plaintiffs’ reasonable attorney’s fees and

expenses, including expert costs; and

      I.       Order all other appropriate relief as the interests of justice may

require.



                                     JURY DEMAND


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     Plaintiffs request a jury trial for all claims that may be tried to a jury.


Dated: February 7, 2022

                                  Respectfully submitted,

                                  /s/ Michael Lieder_____________
                                  One of the attorneys for Plaintiffs

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                          CERTIFICATE OF SERVICE

       I hereby certify that on February 7, 2022, I caused a copy of the foregoing
document to be served via the electronic case file system upon counsel of record for
all parties.


                                       /s/ Michael Lieder
                                       One of the attorneys for Plaintiffs




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